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                                                                    FILED: January 9, 2018


                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


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                                               No. 17-1351
                                          (8:17-cv-00361-TDC)
                                         ___________________

         INTERNATIONAL REFUGEE ASSISTANCE PROJECT, a project of the Urban
         Justice Center, Inc., on behalf of itself and its clients; HIAS, INC., on behalf of
         itself and its clients; MIDDLE EAST STUDIES ASSOCIATION OF NORTH
         AMERICA, INC., on behalf of itself and its members; MUHAMMED METEAB;
         PAUL HARRISON; IBRAHIM AHMED MOHOMED; JOHN DOES #1 & 3;
         JANE DOE #2

                        Plaintiffs - Appellees

         v.

         DONALD J. TRUMP, in his official capacity as President of the United States;
         DEPARTMENT OF HOMELAND SECURITY; DEPARTMENT OF STATE;
         OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE; JOHN F.
         KELLY, in his official capacity as Secretary of Homeland Security; REX W.
         TILLERSON, in his official capacity as Secretary of State; DANIEL R. COATS,
         in his official capacity as Director of National Intelligence

                        Defendants - Appellants

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         STATE OF TEXAS; STATE OF ALABAMA; STATE OF ARIZONA; STATE
         OF ARKANSAS; STATE OF FLORIDA; STATE OF KANSAS; STATE OF
         LOUISIANA; STATE OF MONTANA; STATE OF OKLAHOMA; STATE OF
         SOUTH CAROLINA; STATE OF SOUTH DAKOTA; STATE OF WEST
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         VIRGINIA; PHIL BRYANT, Governor of the State of Mississippi; AMERICAN
         CENTER FOR LAW AND JUSTICE; SOUTHERN LEGAL FOUNDATION,
         INC.; AMERICAN CIVIL RIGHTS UNION; IMMIGRATION REFORM LAW
         INSTITUTE; U.S. JUSTICE FOUNDATION; CITIZENS UNITED; CITIZENS
         UNITED FOUNDATION; ENGLISH FIRST FOUNDATION; ENGLISH FIRST;
         PUBLIC ADVOCATE OF THE UNITED STATES; GUN OWNERS
         FOUNDATION; GUN OWNERS OF AMERICA; CONSERVATIVE LEGAL
         DEFENSE AND EDUCATION FUND; U.S. BORDER CONTROL
         FOUNDATION; POLICY ANALYSIS CENTER; VICTOR WILLIAMS


                       Amici Supporting Appellants

         INTERFAITH COALITION; COLLEGES AND UNIVERSITIES; T.A.;
         COMMONWEALTH OF VIRGINIA; STATE OF MARYLAND; STATE OF
         CALIFORNIA; STATE OF CONNECTICUT; STATE OF DELAWARE; STATE
         OF ILLINOIS; STATE OF IOWA; STATE OF MAINE; STATE OF
         MASSACHUSETTS; STATE OF NEW MEXICO; STATE OF NEW YORK;
         STATE OF NORTH CAROLINA; STATE OF OREGON; STATE OF RHODE
         ISLAND; STATE OF VERMONT; STATE OF WASHINGTON; DISTRICT OF
         COLUMBIA; CITY OF CHICAGO; CITY OF LOS ANGELES; CITY OF NEW
         YORK; CITY OF PHILADELPHIA; CITY COUNCIL OF NEW YORK;
         MAYOR OF THE CITY OF NEW YORK; CITY OF AUSTIN; CITY OF
         BOSTON; MARTIN J. WALSH, Mayor of Boston; TOWN OF CARRBORO;
         JAMES A. DIOSSA, Mayor of Central Falls, Rhode Island; COOK COUTNY,
         ILLINOIS; CITY OF GARY; CITY OF IOWA CITY; SVANTE L. MYRICK,
         Mayor of Ithaca; CITY OF JERSEY CITY; CITY OF MADISON; CITY OF
         MINNEAPOLIS; MONTGOMERY COUNTY; CITY OF NEW HAVEN; TONI
         N. HARP, Mayor of New Haven; CITY OF OAKLAND; CITY OF PORTLAND;
         CITY OF PROVIDENCE; JORGE O. ELORZA, Mayor of Providence; CITY OF
         ST. LOUIS; CITY OF SAINT PAUL; CITY OF SAN FRANCISCO; COUNTY
         OF SAN FRANCISCO; CITY OF SAN JOSE; SANTA CLARA COUNTY;
         CITY OF SANTA MONICA; CITY OF SEATTLE; VILLAGE OF SKOKIE;
         CITY OF SOUTH BEND; CITY OF TUCSON; CITY OF WEST
         HOLLYWOOD; FORMER NATIONAL SECURITY OFFICIALS; MEMBERS
         OF THE CLERGY; RIVERSIDE CHURCH IN THE CITY OF NEW YORK;
         AMERICANS UNITED FOR SEPARATION OF CHURCH & STATE; BEND
         THE ARC; A JEWISH PARTNERSHIP FOR JUSTICE; SOUTHERN
         POVERTY LAW CENTER; AMERICAN-ARAB ANTI-DISCRIMINATION
         COMMITTEE; NEW YORK UNIVERSITY; RODERICK & SOLANGE
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         MACARTHUR JUSTICE CENTER; HOWARD UNIVERSITY SCHOOL OF
         LAW CIVIL RIGHTS CLINIC; UNIVERSITY PROFESSORS & HIGHER
         EDUCATION ASSOCIATIONS; INTERNATIONAL LAW SCHOLARS;
         NONGOVERNMENTAL ORGANIZATIONS; ISMAIL ELSHIKH; ANT-
         DEFAMATION LEAGUE; JEWISH COUNCIL FOR PUCLIC AFFAIRS;
         UNION FOR REFORM JUDAISM; CENTRAL CONFERENCE OF
         AMERICAN RABBIS; WOMEN OF REFORM JUDAISM; AMERICAN BAR
         ASSOCIATION; MUSLIM JUSTICE LEAGUE; MUSLIM PUBLIC AFFAIRS
         COUNCIL; ISLAMIC CIRCLE OF NORTH AMERICA; COUNCIL ON
         AMERICAN-ISLAMIC RELATIONS; ASIAN AMERICANS ADVANCING
         JUSTICE-ASIAN LAW CAUCUS; NATIONAL IMMIGRANT JUSTICE
         CENTER; ASISTA; AMERICANS FOR IMMIGRANT JUSTICE; FUTURES
         WITHOUT VIOLENCE; NORTH CAROLINA COALITION AGAINST
         DOMESTIC VIOLENCE; SANCTUARY FOR FAMILIES; MEMBERS OF
         CONGRESS; SERVICE EMPLOYEES INTERNATIONAL UNION;
         AMERICAN FEDERATION OF STATE,COUNTY & MUNICIPAL
         EMPLOYEES, AMERICAN FEDERATION OF TEACHERS; HISTORY
         PROFESSORS & SCHOLARS; LAWYERS' COMMITTEE FOR CIVIL
         RIGHTS UNDER LAW; CENTER FOR REPRODUCTIVE RIGHTS;
         SOUTHERN COALITION FOR SOCIAL JUSTICE; NATIONAL CENTER
         FOR LESBIAN RIGHTS; JUDGE DAVID L. BAZELTON CENTER FOR
         MENTAL HEALTH LAW; CHICAGO LAWYERS' COMMITTEE FOR CIVIL
         RIGHTS UNDER LAW; MISSISSIPPI CENTER FOR JUSTICE;
         WASHINGTON LAWYERS' COMMITTEE FOR CIVIL RIGHTS AND
         URBAN AFFAIRS; TECHNOLOGY COMPANIES; FRED T. KOREMATSU
         CENTER FOR LAW & EQUALITY; JAY HIRABAYASHI; HOLLY YASUI;
         KAREN KOREMATSU; CIVIL RIGHTS ORGANIZATIONS; NATIONAL
         BAR ASSOCIATIONS OF COLOR; FOUNDATION FOR THE CHILDREN OF
         IRAN; IRANIAN ALLIANCES ACROSS BORDERS; MASSACHUSETTS
         TECHNOLOGY LEADERSHIP COUNCIL; EPISCOPAL BISHOPS;
         IMMIGRATION LAW SCHOLARS & CLINICIANS ON STATUTORY
         CLAIMS; FORMER FEDERAL IMMIGRATION & HOMELAND SECURITY
         OFFICIALS; CONSTITUTIONAL LAW SCHOLARS; MEDICAL
         INSTITUTIONS; ADVOCACY ORGANIZATIONS; INDIVIDUAL
         PHYSICIANS; TAHIRIH JUSTICE CENTER; ASIAN PACIFIC INSTITUTE
         ON GENDER-BASED VIOLENCE; CASA DE ESPERANZA; NATIONAL
         DOMESTIC VIOLENCE HOTLINE; INTERFAITH GROUP OF RELIGIOUS &
         INTERRELIGIOUS ORGANIZATIONS; OXFAM AMERICA, INC.;
         CONSTITUTIONAL LAW PROFESSORS; AMERICAN JEWISH
         COMMITTEE; MUSLIM RIGHTS, PROFESSIONAL & PUBLIC HEALTH
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         ORGANIZATIONS; CATO INSTITUTE; NATIONAL ASSIAN PACIFIC
         AMERICAN BAR ASSOCIATION; ASSOCIATION OF ART MUSEUM
         DIRECTORS; AMERICAN ALLIANCE OF MUSEUMS; COLLEGE ART
         ASSOCIATION; 94 ART MUSEUMS; AMERICAN PROFESSIONAL
         SOCIETY ON THE ABUSE OF CHILDREN; ADVOCATES FOR HUMAN
         RIGHTS; ASIAN LAW ALLIANCE; ASIAN PACIFIC AMERICAN
         NETWORK OF OREGON; CASA; COMMUNITY REFUGEE &
         IMMIGRATION SERVICES; INTEGRATED REFUGEE & IMMIGRANT
         SERVICES; IMMIGRANT LAW CENTER OF MINNESOTA; SOUTHEAST
         ASIA RESOURCE ACTION CENTER; IMMIGRANT RIGHTS CLINIC OF
         WASHINGTON; SQUARE LEGAL SERVICES, INC.; AIRPORT
         ATTORNEYS COALITION

                         Amici Supporting Appellees

                                         ___________________

                                            MANDATE
                                         ___________________

                  The judgment of this court, entered 11/17/2017, takes effect today.

                  This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                    /s/Patricia S. Connor, Clerk
